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                                  UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEW JERSEY


  FADYAL HAMARNEH,
                                                                Civil Action No. 24-05962 (JXN) (CLW)
                   Plaintiff,
      V.


                                                                                   OPINION
 UNITED AIRLINES, TONY
 CALMUSA, EVA CASTILLO,
 SEVAN KARABETIAN, CYRUS
 SARKARI, SAL SANCHEZ,
 ERICKA BALDWIN, ANETTE
 GADSON, BOBBI COULTON, and
 CATHERINE PIMENTAL,

                   Defendants.



NEALS, District Judge:

           This matter comes before the Court on Defendants United Airlines, Inc. ("United"), Tony


Calamusa, and Eva Castillo's (collectively "Defendants") ' motion to dismiss (ECF No. 11)

Plaintiff Fady AI Harmaneh's ("Plamtiff') Complaint (ECF No. 1-1) ("CompL") pursuant to

Federal Rules of Civil Procedure 12(b)(l)and 12(b)(6). Jurisdiction and vemie are proper pursuant

to pursuant to 28 U.S.C. §§1331, 1441(a), and § 1367, respectively. The Court has carefully

considered the parties submissions and decides this matter without oral argument pursuant to


Federal Rule of Civil Procedure 78(b) and Local Civil Rule. 78.1(b). For the reasons set forth

below. Defendants motion to dismiss is GRANTED.




] On April 16,2024, Plaintiff filed a stipulation of dismissal, dismissing with prejudice Defendants Sevan Karabetian,
Gyms Sarkari, Sal Sanchez, Ericka Baldwin, Anette Gadson, Bobbi Coulton, and Catherine Pimental. (ECF No. 1 ^ 4
(citing Ex. C)).
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  I. BACKGROUND AND PROCEDURAL HISTORY

         Plaintiff brings this employment action, alleging various federal and state discrimination

claims against Defendants.2 In November 2021, Plaintiff began working at United as a Customer


Service Representative. (CompL ^ 16).

         In November 2022, after one year of employment, Plaintiff's supervisor, Catherine


Pimental, made a remark about Plaintiff, referring to his "Italian intimidating look." (M at ^ 19).

Offended, Plaintiff filed a grievance through bis union on July 13, 2023. (Id. ^ 19-20).

         In February 2023, Plaintiff alleges he was reprimanded by another supervisor, Sal Sanchez,

for "meticulously documenting safety concerns about [a] plane." (Id. ^fl| 21-22). The following

day. Plaintiff "noticed that his previously criticized report format was being implemented by two

other supervisors" which "prompt[ed him to question the basis of the critique .... (M ^ 22).


Plaintiff concluded "that Sal Sanchez's disapproval was less a commentary on the quality of his

work and more indicative of a broader pattern of discrimination and retaliation." (Id).


         On March 1,2023 , United implemented a mandatory training on Israeli culture in response


to the unfolding conflict in the Middle East; Plaintiff claims that such action by United was

"insensitive and discriminatory" against him as a Palestinian American. (M ^ 23). Plaintiff

inquired into whether "the training might be reconsidered," given that many of his family members

had been killed in the conflict, to which he allegedly received an "unexpectedly aggressive"

response from a United supervisor. (M ^ 23-24).


        InApril of 2023, Plaintiff's strained relationship with his employer continued. Mr. Sanchez

reprimanded Plaintiff for being "six minutes" late to his shift and issued a termination warning




2 The following factual allegations are taken from the Amended Complaint that are accepted as true. Sheridan v. NGK
Metals Corp., 609 F.3d 239, 262 n.27 (3d Cir. 2010).
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although Plaintiff asserts he was on time. (Id. ^ 25). Plaintiff's union filed a grievance related to

this incident, but as of the filing of the Complaint no response has been received. (M K 26).

        On July 19, 2023, Plaintiff returned to work after a bout with COVID-19, and despite still

being fatigued, faced a severe reprimand from General Manager Aimette Gadson ("Gadson ) for


[Plaintiff's] shirt not being pressed to her standards^]" which took place in front of other United

supervisors and further "amplif[ied] [PlaintifFs] embarrassment and stress." (M ^ 29).

        InAugust 2023, United interviewed Plaintiff regarding Ms. Pimental's "intimidating Italian

look" remark and was assured lie would not be retaliated against for reporting the incident. (Id ^


27). Ms. Pimental subsequently admitted to making the comment and was disciplined. (Id. ^ 27-

28).

       Plaintiff had additional confrontational interactions with his supervisors at United,

including inter alia. Plaintiff again being "singl[ed] out" by Gadson "for a minor stain on his

jacket;" being criticized and nearly given "a disciplinary note" by supervisor Bobbi Coulton

("Coulton") for describing unsanitary conditions on an aircraft as "disgusting;" as well as allegedly

being called a "prick" by Coulton while loading carry-on luggage. (Id. ^ 30-33).

        Subsequently, on November 27, 2023, Plaintiff filed a report with the Ethics and

Compliance Department, and three days later on November 30, they initiated an investigation into


Plaintiffs complaints against supervisor Bobby Coulton. (M ^[ 34). Plaintiff alleges United later

found the interaction to be partially substantiated. (M ^ 36).

       Furthermore, on November 27, Ms. Pimental scheduled Plaintiff for two back-to-back


flights "within ... a tight timeframe," which Plaintiff alleges "hint[edj at discriminatory intentions

. , . that seemed to target him" and "amounted to an unjust labor practice." (M ^[ 34-35).
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        On January 4, 2024, Plaintiff was notified that Coulton would be disciplined. (Id. ^ 36).

That same day. Plaintiff was asked by Mr. Calamusa to come to his office, and was suspended for


thirty days without pay, seemingly without reason. (Id ^ 37). "Feeling that this treatment was

unfair and discriminatory," Plaintiff filed a complaint with Ethics and Compliance, and on January

19, 2024, received a response stating that the department was "not the appropriate place for his


grievance." (M ^ 39). During his suspension, Plaintiff alleges to have "found himself grappling

with a deep sense of hopelessness" and began "collaborating with a therapist to help him cope."


(MHH 40-41).

        OnFebruary 11, 2024, Plaintiff submitted his resignation to United. (Id ^41).

        Plaintiff claims that his "due process rights under his employment contract were violated."


(M ^ 42). Plaintiff also asserts concerns regarding supposedly denied promotions, which do not

seem to be related to his claims against Defendants. (Id ^ 43-47). Plaintiff further claims that

following these incidents he has exhibited many physical and emotional symptoms, including

"fatigue, headaches, heart palpitations, insomnia, ... a decreased appetite[J a diminished interest


in intimacy, feelings of discouragement, m'itability, . . . pessimism[J cognitive impairments [,]


difficulty concentrating^] bouts of depression, episodes of intense sadness and crying, and


[feeling] overwhelmed by his circumstances." (Id ^ 48).

        Prior to filing this suit, Plaintiff filed a charge of discrimination with the Equal Employment

Opportunity Commission and received a Notice of Right to Sue on March 1,2024. (Compl. ^ 15).

        On March 22, 2024, Plaintiff filed his Complaint in the Superior Court of New Jersey, Law

Division, Essex County. (See generally CompL).


        On May 9, 2024, United removed the case to this Court. (ECF No. I).3



3 As of the date offilmg the Notice of Removal, Defendants Tony Calamusa, and Eva Castillo had not been served.
(ECF No. 1 ^ 3).
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        Plaintiff's claims include (1) discriminatory discharge under the New Jersey Law Against

Discrimination ("NJLAD"); (2) hostile work environment under NJLAD; (3) retaliation under

NJLAD; (4) wrongful termination in violation of public policy (a "Pierce claim"), (5) deprivation

of Equal Protection rights under the New Jersey Civil Rights Act ("NJCRA"); (6) intentional

infliction of emotional distress ("IIED"); (7) discrimination based on race and national origin under

Title VII of the Civil Rights Act ("Title VII"), (8) "harassment" based on race and national origin

under Title VII; and (9) retaliation under Title VII.

        On July 18, 2024, Defendants moved to dismiss Plaintiff's complaint. ("Defs.' Br.") (ECF

No. 11). On August 15, 2024, Plaintiff opposed. ("PI.'s Br.") (ECF No. 15). On September 6, 2024,

Defendant replied. ("Defs.' Br.") (ECF No. 16). This matter is now ripe for consideration.


 II. LEGAL STANDARD

       A. Rulel2(b)(l)

       Federal courts are courts of limited jurisdiction; the party seeking to invoke the court's

jurisdiction bears the burden of proving the existence of subject matter jurisdiction. See Kokkonen

v. Guardian Life Ins. Co., 511 U.S. 375, 377 (1994). Federal Rule of Civil Procedure 12(b)(l)

enables a party to move to dismiss a complaint for lack of subject matter jurisdiction. There are


two types of standing challenges under .Rule 12(b)(l): "either a facial or a factual attack." Davis v.


Wells Fargo, 824 F.3d 333, 346 (3d Cir. 2016). A facial attack contests the sufficiency of the

pleadings, whereas a factual attack contests the sufficiency ofjurisdictional facts. See Lincoln Ben.


Life Co. v. AEI Life, LLC, 800 F.3d 99, 105 (3d Cir. 2015). When considering a facial attack, the

court accepts the plaintiff's well-pleaded factual allegations as true and draws all reasonable


inferences from those allegations in the plaintiff's favor. See In re Horizon Healthcare Services


Inc. Data Breach Litigation, 846 P.3d 625, 633 (3d Cir. 2017). When considering a factual attack,
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as here, the Court need not limit its inquiry to allegations in the complaint and may weigh and

consider evidence outside the pleadings. See GozddElecs. Inc. v. Um/ed States, 220 F.3d 169, 176


(3d Cir. 2000).

        B. Rulel2(b)(6)

        Rule 8 requires that a pleading include "a short and plain statement of the claim showing

that the pleader is entitled to relief and provide the defendant with "fair notice of what the claim

is and the grounds upon which it rests[.]" Bell All. Corp. v. Twombty, 550 U.S. 544, 555 (2007)

(citation and internal quotations and ellipses omitted). On a Rule 12(b)(6) motion, the "facts

alleged must be taken as true" and dismissal is not appropriate where "it appears unlikely that the


plaintiff can prove those facts or will ultimately prevail on the merits." Phillips v. Cnty. Of

Allegheny, 515 F.3d 224,23 1 (3d Cir. 2008) (citation omitted). A complaint will survive a motion

to dismiss if it provides a sufficient factual basis to state a facially plausible claim for relief.

Ashcroffv. Iqbal, 556 U.S. 662, 678 (2009).

       To determine whether a complaint is sufficient, the Third Circuit requires a three-part

inquiry: (1) the court must first recite the elements that must be pled in order to state a claim; (2)

the court must then determine which allegations in the complaint are merely conclusory and


therefore need not be given an assumption of truth; and (3) the court must "assume the[] veracity"


ofwell-pleaded factual allegations and ascertain whether they plausibly "give rise to an entitlement


for relief." Santiago v. Warminster Twp., 629 F.3d 121, 130 (3d Ch\ 2010) (citations omitted).

III. DISCUSSION

       A. The Railway Labor Act Preempts PlaintifFs Discrimination and Retaliation
          Claims (Counts 1, 3, 7, and 9)

       Before examining the merits of Plaintiff's claims, this Court must address whether

Plaintiff's discrimination and retaliation claims are preempted by the Railway Labor Act ("RLA").
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45U.S.C. § 151 elseq. Defendants argue that the RLA prevents the Plaintiff from asserting NJLAD

and Title VII discrimination and retaliation claims because those claims arise out of "disputes

subject to the 'mandatory, exclusive, and comprehensive'jurisdiction" of the Plaintiff's Collective


Bargaining Agreement ("CBA") grievance procedures. (Defs/ Br. at 35). If Defendants' assertion


is correct, the RLA would deprive this Court of subject-matter jurisdiction of these claims. See,


e.g., Kennedy v. Am. Airlines Inc., 195 F. Supp. 3d 646, 654 (D .N.J. 2016) (quoting Sierra v. Co??/7


Airlines, Inc., No. 12-4368, 2013 WL 1222797, at *3 (D.NJ. Mar. 25, 2013)).

         Indeed, Plaintiff, as a union employee of United Airlines, is subject to a CBA establishing

terms and conditions of his employment, including the settlement of grievances. (See generally


ECF No. 11-3).4 "[T]iie RLA created an arbitration scheme to provide for the prompt and orderly

settlement of all disputes growing out of grievances or out of the interpretation or application of

labor agreements." Kennedy, 195 F. Supp. 3d at 653. The RLA categorizes labor disputes as either


"major" or "minor," with minor disputes "involving the interpretation or application of existing


labor agreements." Hawaiian Airlines, Inc. v. Norris, 512 U.S. 246, 256 (1994). Minor disputes


cannot be heard by district courts and must be resolved pursuant to the RLA's arbitration


provisions. See Kennedy, 195 F. Supp. 3d at 653 (interpreting 45 U.S.C. § 151(a)).

         "[A] federal claim that depends for its resolution on the interpretation of a CBA lacks

independence from the CBA, and the RLA precludes it." Stonffer v. Vmon R.R. Co., 85 F. 4th 139,


144 (3d Cir. 2023) (quoting Giles v. Nat'l R.R. Passenger Corp., 59 F,4th 696, 702-03 (4th Cir.

2023)) (cleaned up). Similarly, state law claims that depend on interpretation of a CBA are

preempted by the RLA. See, e.g.^Pa. Fed'n ofBhds, ofMaml, ofWayEmps. byDoddv. Nat'lR.R.




4 The Court also considers any "document integral to or explicitly relied upon in the complaint." In re Bnrimgton Coat
Factory Sec. Litig., 114 F.3d 1410, 1426 (3d Cir. 1997).
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Passenger Corp., 989 F.2d 112, 115 (3d Cir. 1993). Therefore, this Court must determine whether

Plaintiff's claims can "be conclusively resolved by interpreting the existing agreement." Stonffei\


85F4thatl44.

       Plaintiff specifically states that his "due process rights under his employment contract were

. .. violated, as there was no meeting ever scheduled to discuss his resignation under Article Nine


(Compl. ^ 42). Plaintiff's Complaint also makes repeated reference to United improperly placing

Plaintiff on "unpaid suspension." (Id ^ 70-71, 90). Additionally, the Complaint makes multiple

references to grievances Plaintiff filed through his union, which is also dictated by Article 9 of the

CBA; thus, both his discrimination and retaliation claims hinge on the application of his CBA.

(See, e.g.. Id. at fl 19, 20,26, 31, 34, 37, 39, 42, 43). Indeed, the parties disagree on how the CBA


applies to Plaintiff's situation, and this Court would have to interpret the CBA to determine

whether Plaintiff had been treated fairly under its terms. Thus, the District Court is not the correct

venue for this action, and this case should be reviewed by the arbitral board. See Stouffer, 85 F.4th

at 145-46 (stating claims are preempted by the RLA where the defendant "argue[s] . . . that the

[carrier] violated the CBA, or that the CBA was improperly applied"); see also Kennedy, 195 F.

Supp. 3d at 654 (quoting Tice v. Am. Airlims, Inc., 288 F.3d 313, 318 (7th Cir. 2002)) ("[0]nlythe

arbitral boards convened under the aegis of the Railway Labor Act have the authority to determine

the rights conferred by a [CBA] in the airline industry."). Accordingly, Counts One, Two, Three,


and Seven are preempted by the RLA and are dismissed with prejudice.

       The Court next addresses Plaintiff's claims that are not preempted by the RLA. Under New

Jersey law^ Plaintiff pleads an NJLAD hostile work environment claim, deprivation of Equal

Protection rights under the NJCRA, and a common law IIED claim. Because these claims are


"independent state law claims that do not require any interpretation of the CBA," this Court is not




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divested of jurisdiction over them. See Coelfleld v. Jersey Cent. Power & Lighting Co., 532 F.

Supp. 2d 685, 698 (D.NJ. 2007). Similarly, Plaintiff's VII claim based on race and national origin

does not depend on interpretation of his CBA and thus, is not preempted. See Stonffer, 85 F. 4th at

144.

       B. Plaintiff Fails to Plead NJLAD and Title VII Hostile Work Environment Claims
       (Counts 2 and 8)

       Defendants move to dismiss Plaintiff's hostile work environment and "harassment" claims


under NJLAD and Title VII. (Defs.? Br. at 15). Plaintiff separately pleads a claim of hostile work

environment under NJLAD and of harassment based on race and national origin under Title VII.


(Compl. ^ 57-64, 99-103). As Defendants note, however, there is no general cause of action for


"harassment" separate from hostile work environment under Title VII. (Def.'s Br. at 15 n.7). See,


e,g., Casfleberryv. STIGrp., 863 F.3d 259, 262-64 (3d Ch-. 2017). Thus, this Court will construe


Plaintiff's "harassment" claim as a claim of hostile work environment under Title VII.


       "Because the hostile work environment analyses for Title VII claims and NJLAD claims


are 'strikingly similar[,]' the Court will analyze both simultaneously." Grcizioli v. Gemnne Parts


Co., 409 F. Supp. 2d 569, 576 n.10 (D.N.J. 2005) (quoting Cover v. City of Trenton, 420 F.3d 243,

262 (3d Cir. 2005)); see also Sgro v. Bloomberg L.P., 331 Fed. App'x 932, 941 (3d Cir. 2009)

(citation omitted) ("New Jersey courts treat hostile work environment claims under the NJLAD

the same as the Supreme Court treats hostile work environment actions under Title VII."). To


succeed on a racial harassment claim based on hostile work environment, the Plaintiff must allege


"that the complained-of conduct (1) would not have occurred but for the employee's protected


status, and was (2) severe or pervasive enough to make a (3) reasonable person believe that (4) the

conditions of employment have been altered and that the working environment is hostile or


abusive." Lee v. ElecfrifAi, LLC, No. 23-2239, 2024 WL 4182541, at *U (D.NJ. Sept. 13, 2024)
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(citation omitted); see also Nimess v. Simon & Schusfer, Inc., 221 F. Supp. 3d 596, 601 (3d Cir.


2016).

             A plaintiff who camwt show that they suffered discrimination based on a protected trait

cannot successfully plead o.prima facie case of hostile work environment. See, e.g., Alers v. City


ofPhiIa., 919 F. Supp. 2d 528, 546 (E.D. Pa. 2013). Here, Plaintiff has not plausibly alleged that

any of the Defendants' alleged conduct was motivated by his race or national origin. Plaintiff's


hostile work environment claims are solely based on the "Italian intimidating look" comment, and


a company-wide training about Israeli culture. The other alleged incidents are various interpersonal


conflicts with no connection to his race or national origin. Indeed, tlie comment referring to


Plaintiff's "Italian intimidating look" (Compl. ^ 19) was an isolated occurrence completely

removed from the subsequent alleged incidences of harassment, which Plaintiff largely asserts


arose from conduct related to his duties as an employee. (Id at ^ 21,25,29,30, 33, 37). Moreover,


the mandatory training on Israeli culture was a decision United Airlines made having nothing to


do with Plaintiff or his heritage. (M at ^ 23). Defendants did not specifically require Plaintiff to

undergo this training because he is Palestinian. See, e.g., Dalton v. New Jersey, No. 17-4094, 2018


WL 305326, at *7 (D.NJ. Jan. 5, 2018) (dismissing gender discrimination claim where plaintiff

failed to allege any facts supporting an inference that the alleged discriminatory conduct was . . .


because of her gender) (emphasis in the original); Lacy v. Nat'l R.R. Passenger Corp., 254 Fed.


Appx. 934, 936 (3d Cir. 2007) (dismissing the plaintiff's hostile work environment claim, where

the plaintiff "failed to show that she suffered intentional discrimination because of her race or sex

. . . .").




             Even if Plaintiff were to sufficiently allege racial harassment, Plaintiff fails to allege severe

or pervasive conduct required to state a claim of hostile work environment. To determine whether




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the conduct at issue is "severe or pervasive," the Court must consider "'the totality of the relevant


circumstances/ including; '(1) the frequency of all the discriminatory conduct; (2) its severity; (3)

whether it is physically threatening or humiliating, or a mere offensive utterance; and (4) whether

it unreasonably interferes with an employee's work performance.'" ChurcJi v. Sears Holdmg Corp.,


605 F. App'x 119, 125 (3d Cir. 2015) (quoting Godrey v. Princeton Theological Seminary, 952

A.2d 1034, 1045 C^.J. 2008)). The ^sine quo non of a hostile work environment claim is a

workplace . . . permeated with discriminatory intimidation, ridicule, and insult, that is sufficiently


severe or pervasive to alter the conditions of the victim's employment and create an abusive


working environment." Fitzgerald 'v. Shore Mem'l Hosp., 92 F. Supp. 3d 214, 240 (D.NJ. 2015)


(internal quotation marks omitted). See also NUkm v. Mam Line Health, 67 F. 4th 565, 570 (3d

Cir. 2023) (To satisfy this standard "conduct must be extreme") (internal citation omitted); Mandel

v. M & Q Packaging Corp., 706 F.3d 157, 168 (3d Cir. 2013) ("To determine whether an

environment is hostile, a court must consider the totality of the circumstances, including the


frequency of the discriminatory conduct; its severity; whether it is physically threatening or

humiliating, or a mere offensive utterance; and whether it unreasonably interferes with an


employee's work performance.") (internal quotation marks omitted); Merifor Sav. Bank, FSB v.


Vmson, 477 US. 57, 67 (1986) (For discrimination to constitute severe or pervasive behavior, it

must "alter the conditions of [the victim's] employment and create an abusive working


environment") (internal quotation marks omitted); Faragher v. City ofBoca Raton, 524 U.S. 775,


788 (1998) ("[s]imple teasing, . . . offhand comments, and isolated incidents (unless extremely

serious) will not" satisfy this element).

       Additionally, plaintiffs typically cannot meet the severe or pervasive standard where they

can only point to "one isolated incident" of discriminatory harassment. See Nuness^ 221 F. Supp.




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3d at 602-03; see also Taylor v. Metzger, 706 A.2d 685, 689 (NJ. Super. Ct. App. Div. 1985) ("[I]t

will be a rare and extreme case in which a single incident will be so severe that it would, from the


perspective of a reasonable [person situated as the claimant], make the working enviromnent


hostile.").


         PIere, the "Italian intimidating look" comment does not meet the severe or pervasive


standard. Although Plaintiff may consider the comment offensive, it is certainly not a racial epithet

of sufficient severity, nor was it used with sufficient pervasiveness, to allow Plaintiff to overcome


Defendants' motion to dismiss. Nimess, 221 F. Supp. 3d at 603. Anti-discrimination laws are not a


"general civility code." See Oncale v. Simdo\\mer Offshore Sen's., Inc., 523 U.S. 75, 80 (1998);


see also Koschoffv. Henderson, 109 F. Supp. 2d 332, 346 (E.D. Pa. 2000), off d sub nom. KoscJwff

v. Rzmyon, 35 Fed. Appx. 357 (3d Cir. 2002) ("Verbal and physical harassment, no matter how

unpleasant and Ul-willed, is simply not prohibited by Title VII if not motivated by the plaintiff's

gender (or membership in other protected groups)."). Consequently, the one isolated remark is


insufficient to establish severe or pervasive conduct synonymous with a hostile work environment.


Nzmess, 221 F. Supp. 3d at 602-03 (outlining substantial caselaw in which courts in the Third

Circuit have dismissed hostile work environment claims where racial epithets or otherwise


offensive terms were used on only one occasion).


         Moreover, the allegations, viewed in their totality, do not sufficiently show severe or


pervasive conduct to establish a hostile work environment claim. See, e.g., Davis v. City of


Newark, 285 F. Appx. 899, 903 (3d Cir. 2008) (affirming the grant of defendant's motion to dismiss

where the alleged harassing behavior was linked to "personality, temperament, and... other factors




5 The Third Circuit has clarified that the proper standard is "severe or pervasive." Castlebeny v. ST1 Group, 863 F.3d
259,264 (3d Cir. 20 17) (noting that precedent was inconsistent as to the proper standard for a hostile work envu'onment
clami) (emphasis in the original).

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that tend to cause favor or disfavor between co-workers rather than racial issues"); Peace-Wickhcim


v. Walls, 409 F. App'x 512, 520 (3d Cir. 2010) (reassignment, delay in resolution of complaints,

ignoring complaints, refasal to allow breaks not severe or pervasive); Bnffa v. New Jersey State


Dep 't of Judiciary^ 56 F. App'x 571, 576 (3d Cir. 2003) (no harassment where employer targeted

plaintiff for reprimand, repeatedly questioned plaintiff's need for time off due to disability,

subjected her to "hostile" disciplinary proceedings for perceived unexcused absences); Hcmcmi v.


State of New Jersey Dep'{ ofEnv'f Pro/., 205 F. App'x 71, 79 (3d Cir. 2006) (no harassment based

on increased workload, conflicting edits to work, arguing with supervisor, alleged reduction in


performance review). See also Walton v. Mental Health Ass'/?. ofSe. Pennsylvania^ 168 F.3d 661,


667 (3d Cir. 1999) (holding that although plaintiff and her supervisor's relationship was poor and

her supervisor made some offensive comments, plaintiff had not presented any evidence that her


supervisor harassed because of her protected class); Koschoffv. Henderson^ 109 F. Supp. 2d 332,


346 (E.D. Pa.2000) ("mistreafment and disrespect unmotivated by the plaintiff's [statutorily-

protected trait] does not create a hostile work environment"); Bass v. E.I. DuPont de Nemotirs &


Co., 324 F.3d 761,765 (4th Cir. 2003) ("[Plaintiff's] complaint is full of problems [he] experienced

with [his] co-workers and supervisors. These facts, however, do not seem to have anything to do


with [race or national origin] harassment."). Accordingly, Plaintiff's hostile work enviromnent


claims are dismissed without prejudice.

       C. Plaintiff's NJLAD Claim and the Railway Labor Act Preempt PlaintifFs Pierce
           Claim (Count 4)
       Defendants next seek dismissal of Plaintiff's Fierce claim because it seeks to vindicate


rights already protected under NJLAD and does not clearly identify the mandate of public policy

that has been violated. (Def.'s Br. at 27-28). In Pierce v. Orfho Pharma. Corp., the New Jersey


Supreme court explained that "an employee has a cause of action for wrongful discharge when the



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discharge is contrary to a clear mandate of public policy." 417 A.2d 505, 512 (NJ, 1980). "To

establish a case for common law wrongful discharge [under Fiercer the employee must identify

the clear mandate of public policy and that the discharge itself was in violation of that public

policy." Myers v. Advanced Stores Co., No. 19-cv-18183, 2020 WL 2744632, at ^6 (D.NJ. May


27, 2020) (citing TarfagHav. UBSPameWebber Inc., 961 A.2d 1167, 1183 (N.J. 2008)).

       Importantly, "more is needed than simply the breach of public policy affecting a single

person's rights to constitute the breach of a 'clear mandate' of public policy that Pierce requires."


Electrifai, 2024 WL 4182541, at *7 (citing Hennessey v. Coastal Eagle Point Oil Co., 609 A.2d

11, 19-20 (N.J. 1992)). A plaintiff must "prove not only that he or she complained about [an

employer^] policy, but that his or her resulting discharge violated a clear mandate of public

policy." Id. (quoting Tartaglia^ 961 A.2d at 1184. "As such, '[i]fan employee does not point to a

clear expression of public policy, the court can grant a motion to dismiss or for summary


judgment.'" Id. (quoting Pierce, 417 A.2d at 513).


       As a threshold matter, there is no individual liability for a Pierce claim. See Metzler v. Am.


Trcmsp. Grp., L.L.C., No. 07-2066, 2008 WL 413311, at *5 (D.N.J. Feb. 13, 2008) ("A plaintiff is


only able to maintain a Fierce cause of action against his or her employer—not against individual


employees.") (citation omitted). Thus, the Fierce wrongfLil discharge claim against the individual

defendants is dismissed with prejudice. Eleclrifai, 2024 WL 4182541, at *7,

       As for United, Plaintiff makes no specific allegation that any particular area of public

policy was purportedly breached, but rather asserts generally that it is "a question for the trial

judge" whether such a breach has occurred. (Compl. ^ 77). Notwithstanding PlahitifFs failure to

allege any public policy—let alone one that is clearly mandated—Plaintiff appears to be barred

from raising a Pierce claim, as [cjourts [have] consistently held the NJLAD to preempt



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duplicative common law discrimination claims." Slurm u UAL Corp.^ 1998 WL 784615, at *10

(D.NJ. Oct. 8, 1998). Thus, Plaintiff's Pierce claim is preempted by his NJLAD claim. See

Bosshard v. Hackensack Umv. Med Cfr., 783 A,2d 731, 738 C^.J. Super. Ct. App. Div. 2001)


(dismissing Pierce claim "because it does not seek to vindicate interests independent of those


protected by the [NJJLAD"), As such. Plaintiff's Pierce claim against United is dismissed with

prejudice.6 Accordingly, Count Four Is dismissed with prejudice.

         D. Plaintiff Cannot Bring an NJCRA Deprivation of Equal Protection Claim
         (Count 5)

         Plaintiff next argues that Defendants violated his Equal Protection rights under the NJCRA.

(ECF No. 1-1 at 21-22.) The NJCRA was modeled after 42 U.S.C. § 1983, the Civil Rights Act,

and state courts "look[] to federal civil rights law" when construing the NJCRA. Mcmsour v. City


of Jersey City, No. 24-cv-6178, 2024 WL 5301742, at *5 (D.N.J. Dec. 20, 2024). To establish a

claim under the NJCRA, "Plaintiffs must demonstrate that (1) the Constitution or the laws of [New

Jersey] conferred on them a substantive right; (2) fine Defendants deprived them of that right; and

(3) the Defendants were acting under color of law when they did so. Id at ^4 (cleaned up).

        However, Plaintiff, is unable to raise an NJCRA claim at all. In Perez v. Zagami, LLC^ the


New Jersey Supreme Court examined whether "the [New Jersey] Legislature intended that the

[NJCRA] permit a private right of action to be brought against a person who is not acting under

'color of law/" 94 A.3d 869, 870 (NJ. 2014) (interpreting N.J.S.A. 10:6-2(c)). In that case, the

plaintiff filed a complaint against his employer for malicious use of process because tiie employer

sued him for defamation; that action followed plaintiff's testimony at a liquor license proceeding

that, inter alia, the employer served alcohol to minors. See Perez, 94 A.3d at 870-7 1. The plaintiff




6 However, Plaintiff's Pierce claim would be dismissed without prejudice if it were not otherwise preempted. See
Elecfrifaf, 2024 WL 4182541, at *7.

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attempted to add an NJCRA claim, but the Superior Court concluded that, since the NJCRA was

modeled after § 1983, it "only authorized private suits against persons acting under color of law."


Id. at 871. After a lengthy exercise in statutory construction hinging on the placement of a comma


in the NJCRA's text, the New Jersey Supreme Court agreed with the Superior Court, holding that

while the NJCRA "authorizes the [state] Attorney General to bring [NJ]CRA actions against

persons, whether or not acting under color of law/' private individuals are not able to do so. Id. at


877. Thus, since Defendants are private actors, including a corporation, who are not "willfLil


participants] in joint activity with the State or its agents," the Supreme Court has found that they

were not acting under color of law. See Adickes v. S. H. Kress & Co., 398 U.S. 144, 152 (1970)


(citing United States v. Price, 383 U.S. 787, 794 (1966)) (defining when private parties are acting

 under color of law"). Accordingly, Plaintiff s NJCRA claim is dismissed with prejudice.

       E. Plaintiff Fails to Plead an Intentional Infliction of Emotional Distress Claim
       (Count 6)

       Defendant farther argues that Plaintiff fails to allege sufficient facts to establish his IIED

claim because, mter alia, "Plaintiff has not alleged that Defendants engaged in any conduct that is


'beyond all possible bounds of decency.'" (Def.'s Br. at 30). To establish aprima facie claim of


IIED under New Jersey state law, the plaintiff must show "(I) that the defendant intended to cause

emotional distress; (2) that the conduct was extreme and outrageous; (3) that the actions

proximately caused emotional distress; and (4) that plaintiff's emotional distress was

severe." Witherspoon v. Renf-A-Center, Inc., 173 K Supp. 2d 239, 242 (D.N.J.


2001) (citing Buckhyv. Trenton SavmgFimclSoc'y, 544A.2d 857, 863 (N.J. 1988)). "New Jersey

courts have found that the emotional distress must meet an 'elevated thresholcP which is only


satisfied in 'extreme cases.w Sebastum v. Vorhees Twp., No. 08-6097, 2011 WL 540301, at *8




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(D.NJ. Feb, 8, 2011) (quoting Griffin v. Tops Appliance City, Inc., 766A.2d 292, 296 (N.J. Super.

Ct.App.Div.2001)).

        Here, Plaintiff fails to plead the requisite elements for an IIED claim. First, Plaintiff makes

no allegation that any of the Defendants intended to cause emotional distress by their actions. (See


generally CompL). Second, the Plaintiff has not alleged any facts that are "so outrageous in

character, and so extreme in degree, as to go beyond all possible bounds of decency, and to be


regarded as atrocious, and utterly intolerable in a civilized community." ElectnfAi^ 2024 WL


4182541, at *13 (quoting Bnckley, 544 A.2d at 863). Indeed, while the alleged conduct against

Plaintiff may be considered unfair, it does not rise to the heightened standard required by New

Jersey law. See id. As to the third and fourth elements of an IIED claim, although Plaintiff has

stated that the Defendants' conduct caused him emotional distress (Compl. ^ 48), the consequences


of the distress are hardly "so severe that no reasonable man could be expected to endure [them]."


EhcfrifAi, 2024 WL 4182541, at * 13 (quoting Buckley, 544 A.2d at 863). Plaintiff simply alleges

that his emotional distress has required him to undergo psychiatric counseling, a common


consequence of mental strife that is, in fact, endured by countless people eveiy day. (Coxnpl. ^ 93).


Accordingly, Plaintiff's IIED claim is dismissed without prejudice.

IV. CONCLUSION

       For the reasons set forth above, Defendant's motion to dismiss (ECF No. 11) Plaintiff's

Complaint (ECF No. 1-1) is GRANTED. An appropriate Order accompanies this Opinion.




       DATED: March 31,2025                                                     5RNEALS
                                                                                strict Judge



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